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UNITED STATES DISTRICT COURT .
SOUTHERN DISTRICT OF CALIFORNIA
LANCE WILLIAMS, . Case No.: 3:18-cv-01318-DMS-RBM
CDCR #AG-2394,
Plaintiff ORDER GRANTING DEFENDANTS’:
° EX PARTE APPLICATION TO
Vv. oo DEPOSE PLAINTIFF LANCE
| “WILLIAMS, AN INCARCERATED
OFFICER O. NAVARRO, PERSON
N.A. GARSILASO, E. ESTRADA,
C. BAGNOL, F. LEWIS,
R. KATYALL, S. KRITTMAN, C.
TISCORNIA, et al.
Defendants.
. [Doc. 88]

 

 

On January 8, 2021, Defendants Officer O. Navarro, et al. (collectively
“Defendants”) filed an ex parte application for leave to depose Plaintiff Lance Williams
(“Plaintiff”), an incarcerated person (“Ex Parte Application”). (Doc. 88.) Defendants

request to depose Plaintiff by remote means and video conference if they so choose. (id.

jat 1.) Plaintiff is in the custody of the California Department of Corrections and

Rehabilitation at Deuel Vocational Institution in Tracey, California. Ud. at 2.) Defendants
intend to schedule the deposition upon reasonable notice to Plaintiff. Ud.) The Ex Parte
Application is submitted under Federal Rule of Civil Procedure 30(a)(2)(B) and 30(b)(4),

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which requires leave of court to depose a deponent confined in prison and to conduct a
deposition by remote means. (Id. at 1.)

Good cause appearing, the Ex Parte Application is GRANTED. Defendants may
depose Plaintiff by remote means and by video conference if they so choose. However,
given the ongoing COVID-19 pandemic, Defendants may only depose Plaintiff in
accordance with the Federal Rules of Civil Procedure and the guidelines, rules, and
regulations of the institution where Plaintiff is held in custody.

IT IS SO ORDERED. |
DATE: January /A 2021

 
 

 

DEZ {ONTENEGRO
“UNITED STATES MAGISTRATE JUDGE

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